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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION


JAMES LONG

     v.                                                          Case No: 8:16-cv-2824 T-24 MAP
                                                                            8:06-cr-110 T-24 MAP

UNITED STATES OF AMERICA
_________________________________/

                                              ORDER

          This cause comes before the Court on Petitioner James Long’s motion to vacate, set

aside, or correct his sentence pursuant to 28 U.S.C. § 2255. (Civ. Doc. 1; Crim. Doc. 207).

Because review of the motion conclusively demonstrates that Petitioner is not entitled to relief,

the Court will not cause notice thereof to be served upon the United States Attorney but shall

proceed to address the matter directly. 28 U.S.C. § 2255(b).

I.        Background

          On October 19, 2006, a jury found Petitioner guilty of conspiracy to possess with intent

to distribute five kilograms or more of cocaine, in violation of 21 U.S.C. §§ 841(b)(1)(A) and

846 (Count 1); attempting to possess with intent to distribute five kilograms or more of cocaine,

in violation of 21 U.S.C. §§ 841(b)(1)(A) and 846 (Count 2); carrying a firearm during and in

relation to a drug trafficking crime, in violation of 18 U.S.C. § 924(c)(1) (Count 3); and being a

felon in possession of a firearm, in violation of 18 U.S.C. § 922(g)(1) (Count 5). (Crim. Docs.

96, 128). Before trial, the Government filed an Information and Notice of Prior Convictions,

which listed four earlier Florida drug convictions that it asserted constituted “prior felony drug

convictions” within the meaning of 21 U.S.C. §§ 851 and 841(b)(1)(A) and that would mandate

enhanced penalties. (Crim. Doc. 27).

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          The Court sentenced Petitioner to life in prison plus five years on March 6, 2007. (Crim.

Doc. 128). Petitioner appealed, arguing (1) the Court violated his Sixth Amendment rights by

using his prior convictions to enhance his sentence without requiring the jury to make factual

findings regarding those convictions; (2) his sentence constitutes cruel and unusual punishment

in violation of the Eighth Amendment; and (3) his sentence was unreasonable. (Crim. Doc. 155

at 3). The Eleventh Circuit affirmed his sentence on March 6, 2008.1 (Crim. Doc. 155). On June

10, 2009, Petitioner deposited his first § 2255 motion into the prison mailbox. (Crim. Doc. 160).

The Court denied that motion as time-barred on July 16, 2009. (Crim. Doc. 163). Petitioner

signed the instant § 2255 motion on September 27, 2016. (Civ. Doc. 1; Crim. Doc. 207).

II.       Discussion

          The Antiterrorism and Effective Death Penalty Act of 1996 (“AEDPA”) established a

mandatory, one-year period of limitation for § 2255 motions, which runs from the latest of the

following events:

                  (1)     the date on which the judgment of conviction becomes final;
                  (2)     the date on which the impediment to making a motion
                          created by governmental action in violation of the
                          Constitution or laws of the United States is removed, if the
                          movant was prevented from making a motion by such
                          governmental action;
                  (3)     the date on which the right asserted was initially recognized
                          by the Supreme Court, if that right has been newly
                          recognized by the Supreme Court and made retroactively
                          applicable to cases on collateral review; or
                  (4)     the date on which the facts supporting the claim or claims
                          presented could have been discovered through the exercise
                          of due diligence.

28 U.S.C. § 2255(f)(1)–(4).




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    United States v. Long, 268 F. App’x 832 (11th Cir. 2008).
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       Petitioner appears to rely on § 2255(f)(3) to establish his motion is timely. He asserts the

instant motion is not time-barred based on a change in substantive law, which he attributes to a

recent United States Supreme Court case: Molina-Martinez v. United States, __ U.S. __, 136 S.

Ct. 1338 (2016). (Civ. Doc. 1 at 3, 5). Molina-Martinez held that a defendant seeking appellate

review of an unpreserved Guidelines error that resulted in a higher Guidelines range and an

incorrect sentencing framework need not make a further showing of prejudice to obtain relief

under Federal Rule of Criminal Procedure 52(b), even if his or her sentence ultimately fell within

the correct Guidelines range. Id. at 1345.

       But Petitioner is not in the same posture as the appellant in Molina-Martinez because he

is not challenging his sentence on direct appeal. Consequently, Molina-Martinez is factually

inapposite, and its holding is inapplicable here. Furthermore, to the extent Petitioner relies upon

Molina-Martinez to establish his motion is timely under § 2255(f)(3), his reliance is misplaced.

Even if Molina-Martinez were applicable to Petitioner, that case did not announce a right that

was “newly recognized by the Supreme Court and made retroactively applicable to cases on

collateral review.” 28 U.S.C. § 2255(f)(3). Therefore, Petitioner cannot rely on § 2255(f)(3) to

establish the timeliness of his motion.

III.   Conclusion

       Petitioner’s motion is a successive motion and is also untimely. Accordingly, it is

ORDERED AND ADJUDGED that Petitioner’s § 2255 motion is DISMISSED. The Clerk is

directed to enter judgment against Petitioner in the civil case and then to close the case.




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                          CERTIFICATE OF APPEALABILITY AND

                    LEAVE TO APPEAL IN FORMA PAUPERIS DENIED

        IT IS FURTHER ORDERED that Petitioner is not entitled to a certificate of

appealability. A prisoner seeking a motion to vacate has no absolute entitlement to appeal a

district court’s final order in a proceeding under section 2255. 28 U.S.C. § 2253(c)(1). Rather, a

district court must first issue a Certificate of Appealability (“COA”). Id. “A [COA] may issue . . .

only if the applicant has made a substantial showing of the denial of a constitutional right.” Id. at

§ 2253(c)(2). To make such a showing, Petitioner “must demonstrate that reasonable jurists

would find the district court’s assessment of the constitutional claims debatable or wrong,”

Tennard v. Dretke, 542 U.S. 274, 282 (2004) (quoting Slack v. McDaniel, 529 U.S. 473, 484

(2000)), or that “the issues presented were ‘adequate to deserve encouragement to proceed

further.’” Miller-El v. Cockrell, 537 U.S. 322, 335–36 (2003) (quoting Barefoot v. Estelle, 463

U.S. 880, 893 n.4 (1983)). Petitioner has not made the requisite showing in these circumstances.

Finally, because Petitioner is not entitled to a certificate of appealability, he is not entitled to

appeal in forma pauperis.

        DONE AND ORDERED at Tampa, Florida, this 13th day of October, 2016.




Copies to:
Pro se Petitioner
Counsel of Record




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